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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

DONNA CURLING, et al.,                  :
                                        :
         Plaintiffs,                    :
                                        :
v.                                      :         CIVIL ACTION NO.
                                        :         1:17-cv-2989-AT
BRAD RAFFENSPERGER, et al.,             :
                                        :
         Defendants.                    :

                                    ORDER

      This matter is before the Court on Plaintiffs’ Joint Motion to Strike “Nearly

the Entirety of” State Defendants’ Response to Court’s Request for Briefing on

Ripeness [Doc. 711]. The Motion is DENIED AS UNNECESSARY.

      The Court is capable of determining for itself that the State Defendants

devoted the majority of the supplemental brief ordered by the Court to re-arguing

their contentions on standing and mootness, rather than addressing the ripeness

issue as requested by the Court. The Court will not consider any portion of the

State Defendants’ supplemental brief that does not expressly address ripeness of

the BMD claims, specifically sections (I)(B) & (C) and section (II) of the

supplemental brief. But the Court did not need yet another motion from Plaintiffs

to reach this conclusion. All parties are ADVISED to refrain from further efforts

to needlessly expand this litigation or abuse the limited judicial resources of the

Court.
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IT IS SO ORDERED this 31st day of January, 2020.



                            _____________________________
                            Amy Totenberg
                            United States District Judge




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